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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                          Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK                   OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


 PLAINTIFFS’ MOTION TO STRIKE INADMISSIBLE EVIDENCE AND IMPROPER
              TESTIMONY OF DEFENDANT ROBERT CANDY

        In accordance with Federal Rules of Civil Procedure 37(c) and 56(c), Plaintiffs Constance

Collins and People for the Ethical Treatment of Animals, Inc. move:

        (1)      To strike the never-disclosed February 4, 2020 email from the U.S. Department of

Agriculture, ECF No. 75-4, under Rule 37(c) because the document was responsive to one or more

Requests for Production of Documents and yet Defendants failed to disclose it, and such

nondisclosure was neither substantially justified nor harmless;

        (2)      To strike the never-disclosed May 4, 2018 letter from former Allegany County

Animal Control Officer, John Carden, ECF No. 75-10, under Rule 37(c) because the document

was responsive to one or more Requests for Production of Documents and yet Defendants failed

to disclose it, and such nondisclosure was neither substantially justified nor harmless, and under

Federal Rule of Evidence 802 because the letter is inadmissible hearsay;

        (3)      To strike the portions of paragraphs 5, 8, 9, 11–20, 22, 23, and 25 of Defendant

Robert Candy’s Affidavit, ECF No. 75-3, identified in the memorandum in support attached to this



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motion. Those portions exceed Defendant Candy’s personal knowledge, include improper lay

witness opinion testimony, and/or are otherwise improper. Therefore, Defendants cannot rely on

them to support or oppose the pending motions for summary judgment (ECF Nos. 71 and 74).

        A proposed order is also attached.

 Date     March 14, 2022                     Respectfully submitted,
          Baltimore, Maryland
                                              /s/ Adam B. Abelson
                                              Adam B. Abelson (#29532)
                                              Zuckerman Spaeder LLP
                                              100 East Pratt Street, Suite 2440
                                              Baltimore, Maryland 21202
                                              (410) 332–0444; (410) 659–0436 (fax)
                                              aabelson@zuckerman.com

                                              Marcos E. Hasbun (Pro Hac Vice)
                                              Zuckerman Spaeder LLP
                                              101 East Kennedy Boulevard, Suite 1200
                                              Tampa, Florida 33602–5838
                                              (813) 221–1010; (813) 223–7961 (fax)
                                              mhasbun@zuckerman.com

                                              Caitlin Hawks (Pro Hac Vice)
                                              Zeynep Graves (Pro Hac Vice)
                                              PETA Foundation
                                              2154 West Sunset Boulevard
                                              Los Angeles, CA 90026
                                              (323) 210-2263; (213) 484-1648 (fax)
                                              caitlinh@petaf.org
                                              zeynepg@petaf.org

                                              Counsel for Plaintiffs.




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